 

wt . Case 1:16-cr-00249-RDB Document1 Filed 05/19/16 Page 1 of 2

POM: UBAO# 2616R00240 Ds Pee

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND — CLERi'S GFF ICE
AT EALTIMGRE \

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UNITED STATES OF AMERICA ° CRIMINAL NOR Oleh
* .
¥. * (Possession of Firearm and Ammunition
* by a Felon, 18 U.S.C. § 922(¢)(1);
* Forfeiture, 18 U.S.C. § 924(d))
ELISHA STRATTON, *
*
Defendant 4
*
*
eR KR RK
INDICTMENT
COUNT ONE

The Grand Jury for the District of Maryland charges that: :
On or about February 22, 2016, in the District of Maryland, the defendant,
ELISHA STRATTON,
having been convicted of a crime punishable by imprisonment for a term exceeding one year. did
knowingly and unlawfully possess a firearm, to wit: a KAHR CW9 9mm handgun, serial number

EJ2713, and ammunition, in and affecting interstate commerce.

18 U.S.C. § 922(g)(1)

 
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FORFEITURE
The Grand Jury for the District of Maryland further charges that:
1, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with Title 18,
United States Code, Section 924(d), as a result of the defendant's conviction under Count One of
the Indictment.
2, As a result of the offense alleged in Count One of this Indictment, the defendant,
ELISHA STRATTON, |
shall forfeit to the United States the firearm involved in the commission of the offense, to wit: a
KAHR CW9 9mm handgun, serial number EJ2713, and ammunition, in and affecting interstate
commerce.

18 U.S.C. § 924(d)
Fed. R. Crim. P. 32.2(a)

Runt VYonurton, fPenr.

Rod J. Rdsénstein
United States Attorney

A TRUE BILL: '
_ATRUE BILL: 5

SIGNATURE REDACTED |

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™-Foreperson Date

 
